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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 14-0144-03


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 GARY LLOYD HUNTER                                *     MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea

hearing and allocution of the defendant, Gary Lloyd Hunter, on March 16, 2015. Defendant was

present with his counsel, Mr. Val Salomon and John Daniels, III.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Count Six of

the Indictment, is fully supported by a written factual basis for each of the essential elements of

the offense.

       In addition, both the government and the defendant have waived their right to object to

the report and recommendation. Accordingly,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

defendant, Gary Lloyd Hunter, in accordance with the terms of the plea agreement filed in the

record of these proceedings, and that Gary Lloyd Hunter be finally adjudged guilty of the offense
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charged in Count Six of the Indictment.

       IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to

object, that the District Court immediately adopt the report and recommendation without passage

of the customary delays.

       In Chambers, at Monroe, Louisiana, this 16th day of March 2015.



                                                   __________________________________
                                                   KAREN L. HAYES
                                                   UNITED STATES MAGISTRATE JUDGE
